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Case 5:21-cv-09591-PCP

WILLIAM J. MURRAY — BAR #087936
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Attorneys for Defendants & Counter-Claimant

NIZAR YAQUB

Document 55

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

NABIH “NICK” KANAAN,

Plaintiffs,

NIZAR YAQUB, an individual; THE INN
AT DEL MONTE BEACH, LLC, a
California Limited Liability Company,

Defendants.

NIZAR YAQUB, an individual;

Counter Complainant
v.
NABIH “NICK” KANAAN,

Counter-Defendant

Defendant and Counter-Complainant NIZAR YAQUB, for himself alone, hereby Answers

the First Amended Complaint, as follows:

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Case No. 5:21-cv-09591

ANSWER TO FIRST AMENDED
COMPLAINT AND COUNTERCLAIM

DEMAND FOR JURY TRIAL

1

ANSWER AND COUNTER CLAIM

CASE NO.: 5:21¢v-09591

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As to the allegations in the unnumbered first paragraph, p. 2, lines 1-9, Defendant denies
any and all allegations of “unlawful and fraudulent management and transfers of assets and
membership units of the LLC by Yaqub as against Kanaan.” Other than the labeling of the causes
of action of the First Amended Complaint, Defendant lacks sufficient information and knowledge
to form a belief about the truth of the allegations of the rest of the paragraph including as to how
Plaintiff “brings this action” and on that basis denies said allegations. As to the allegations
against, The Inn at Del Monte Beach, LLC (hereinafter, the “LLC”) it is no longer a party to this
action.

1. As to the allegations in paragraph 1 Defendant only admits that he is informed and
believes that the LLC was formed, with Plaintiff having an initial interest therein of 30% and that
the LLC owns a property in Monterey. Except as to these specified admissions, Defendant
denies all and each and every the allegations of this paragraph.

2. As to the allegations in paragraph 2 with respect to the alleged quotation,
Defendant lacks sufficient knowledge or information to form a belief as to the truth of this
allegation and on that basis denies it. As to the remaining allegations in this paragraph,
Defendant denies each and every one of them.

3. As to the allegations in paragraph 3 Defendant denies each and every allegation in
said paragraph.

4. As to the allegations in paragraph 4 Defendant admits only that Plaintiff is an
individual, and alleges his residence. Plaintiff lacks sufficient knowledge or information to form a
belief as to the truth of the other allegations of this paragraph, and based thereon denies each and
every one of them.

5. As to paragraph 5, Defendant admits only that he is an individual and resident of
California and that he is the managing member of and holder of a majority interest in the LLC.
As to the remaining allegations as phrased Defendant lacks sufficient information and knowledge
as to form a belief as to their truth and based thereon denies them.

6. Defendant admits the allegations of paragraph 6.

7. Defendant admits the allegations of paragraph 7.

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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21¢v-09591
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8. As to the allegations in paragraph 8, Defendant admits that he is a California
resident. Defendant lacks sufficient knowledge or information to form a belief as to the truth of
the other allegations, in this paragraph and based thereon denies them.

9. As to the allegations in paragraph 9 Defendant admits only that based on the
allegations of the First Amended Complaint venue is proper.

10. As to the allegations in paragraph 10, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the allegations as to the ownership of Medical
Equities, LLC, and based thereon denies said allegations.

11. Defendant lacks sufficient knowledge or information to form a belief as to the
truth of the allegations in paragraph 11, including because the “Morgan Hill Property” is not
identified properly and on this basis denies all said allegations.

12. Defendant lacks sufficient knowledge or information to form a belief as to the
truth of the allegations in paragraph 12, including but not limited to because the “Morgan Hill
Property” is not identified properly and on this basis denies all said allegations.

13. In response to paragraph 13, Defendant admits only that Medical Equities
purchased the Property in 2002. As to the remaining allegations Responding Party denies them or
lacks sufficient knowledge or information to form a belief as to the truth of the allegations and on
that basis denies them.

14. As to the allegations in Paragraph 14, based solely on the ABC website, this
appears to be correct.

15. _ As to the allegations in paragraph 15, because it is unclear whether Plaintiff is
alleging that Yaqub operated a bed and breakfast, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of the allegations, and based thereon denies them.

16. As to the allegations in paragraph 16, Defendant denies that he formed the LLC.
As to the other allegations of this paragraph, Defendant lacks sufficient information and belief to
lacks sufficient information and belief to form a belief as to the truth these allegations, and based
thereon denies them.

17. As to the allegations in paragraph 17, Defendant lacks sufficient knowledge or

information to form a belief as to the truth of the allegations and based thereon denies them.
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ANSWER AND COUNTER CLAIM
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18. As to the allegations in paragraph 18, Defendant admits these allegations.

19. _ As to the allegations in paragraph 19, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of these allegations and based thereon denies them.

20. As to the allegations in paragraph 20, Defendant admits only that Seeley
transferred all her ownership interest in the LLC to Defendant. Defendant lacks sufficient
knowledge or information to lacks sufficient information and belief to form a belief as to the truth
of the remaining allegations of this paragraph, and based thereon denies them.

21. Defendant admits the allegations of paragraph 21.

22. As to paragraph 22, partially because of the wording of this paragraph, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of the allegations and
based thereon denies them.

23. With respect to the allegations in paragraph 23, Defendant denies the allegation
that Plaintiff was never contacted and the allegation that he never consented to the cancellation of
Medical Equities.

24. As to the allegations in paragraph 24, Defendant notes that this appears to relate, if
to anything, to a claim which would be derivative and precluded by the Court’s Order denying
Defendant’s Motion to Dismiss. In response to the allegations, Defendant admits that a lawsuit
was filed alleging that there was a default on the loan. As to the other allegations, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of the allegations, and
based thereon denies them.

25. In response to the allegations in paragraph 25, Defendant admits only that he
applied for a liquor license on behalf of the LLC, and stated in connection with that application
that he owned 92% of the LLC and, Plaintiff owned 8%. Defendant lacks sufficient knowledge
or information to form a belief as to the truth of the remaining allegations as stated in this
paragraph, and based thereon denies them.

26. __ As to the allegations in paragraph 26, Defendant admits only that the lawsuit was
settled, and denies all other allegations.

27. As to the allegations in paragraph 27, while the letter referenced speaks for itself

and Defendant denies any characterization of it to the extent it varies from the letter, Defendant
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ANSWER AND COUNTER CLAIM
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otherwise admits the allegations of paragraph 27.

28. As to the allegations in paragraph 28 Defendant admits only that he believes and
contends that Plaintiff's ownership interest in the LLC was reduced to 8%. With respect to all the
other allegations of this paragraph, Defendant denies each and every one of them.

29. As to the allegations of paragraph 29 Defendant lacks information and belief
sufficient to lacks sufficient information and knowledge to form a belief as to the truth of these
allegations, and on that basis denies them.

30. As to the allegations of paragraph 30, based on what is alleged, Defendant lacks
sufficient information and knowledge to form a belief as to the truth of these allegations and
based thereon denies them, except that Defendant admits that Exhibit E appears to be a copy of!
the Minutes to Memorialize Prior Action Taken.

31. As to the allegations of Paragraph 31, without in any way admitting them,
Defendant responds that based on the Court’s Order Denying Motion to Dismiss the First
Amended Complaint these allegations are no longer part of this action, and no response is
required. To the extent any response would be required, Defendant lacks sufficient information
and knowledge to form a belief as to the truth of these allegations and based thereon denies them.

32. As to the allegations of Paragraph 32, without in any way admitting them,
Defendant responds that based on the Court’s Order Denying Motion to Dismiss the First
Amended Complaint these allegations are no longer part of this action, and no response is
required. To the extent any response would be required, Defendant lacks knowledge or
information sufficient to form a belief as to the truth of these allegations and based thereon
denies them, and also denies any wrongdoing by Defendant.

33. As to the allegations of Paragraph 33 of the First Amended Complaint, Defendant
lacks knowledge or information sufficient to form a belief as to the truth of these allegations and
based thereon denies them.

34. As to the allegations in paragraph 34 of the First Amended Complaint, Defendant
incorporates his responses to the prior allegations incorporated by reference.

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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21¢v-09591
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35. As to the allegations in paragraph 35, which appear to be argument, based on the
allegations, Defendant lacks sufficient knowledge or information to form a belief as to the truth of
these allegations and based thereon denies them.

36. As to the allegations in paragraph 36, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of these allegations which appear to be argument, and
based thereon denies them.

37. As to the allegations in paragraph 37 Defendant lacks sufficient knowledge or
information to form a belief as to the truth of these vague allegations which appear to be
argument, and based thereon denies them. .

38. As to the allegations in paragraph 38, Defendant denies all these allegations.
Defendant also notes that as to the allegations in subpart C, based on the Court’s ruling Denying
the Motion to Dismiss the First Amended Complaint, they are no longer part of this action.

39. As to the allegations of paragraph 39, Defendant denies all such allegations.
Defendant also notes that based on the Court’s ruling Denying the Motion to Dismiss the First
Amended Complaint, the damages allegations may not be part of this action.

40. _ As to the allegations in paragraph 40 of the First Amended Complaint, Defendant
incorporates his responses to the prior allegations incorporated by reference.

41. _ As to the allegations of paragraph 41, which appear to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations and
based thereon denies them.

42. _ As to the allegations of paragraph 42, which appear to be argument, Defendant
lacks knowledge or information sufficient to form a belief about their truth, and based thereon
denies them.

43. As to the allegations of paragraph 43, which appear to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations and
based thereon denies them.

44. As to the allegations of paragraph 44, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of these allegations and based thereon denies them.

45. As to the allegations of paragraph 45, which appears to be argument, Defendant
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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21cv-09591
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lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

46. _ As to the allegations in paragraph 46, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

47. As to the allegations in paragraph 47, Defendant denies each and every and all
these allegations. Defendant also notes that as to the allegations in subpart C, based on the
Court’s ruling Denying the Motion to Dismiss the First Amended Complaint, they are no longer
part of this action.

48. _ As to the allegations in paragraph 48, Defendant lacks sufficient knowledge or
information as to the truth of these allegations to either admit or deny these allegations to the
extent he understands them, and based thereon denies them.

49. As to the allegations in paragraph 49, which appears to include argument,
Defendant lacks knowledge or information sufficient to form a belief as to the truth of these
allegations, and based thereon denies them.

50. As to the allegations in paragraph 50, Defendant denies all of them.

51. __ As to the allegations in paragraph 51 of the First Amended Complaint, Defendant
incorporates his responses to the prior allegations incorporated by reference.

52. As to the allegations of paragraph 52, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

53. As to the allegations of paragraph 53, which appear to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

54. As to the allegations of paragraph 54, which appear to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations and
based thereon denies them.

55. As to the allegations of paragraph 55, which appear to be argument, Defendant

lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21cv-09591

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based thereon denies them.

56. As to the allegations of paragraph 56, which appear to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

57. As to the allegations of paragraph 57, Defendant denies all of them.

58. As to the allegations in paragraph 58 Defendant incorporates his responses to the
prior allegations incorporated by reference.

59. As to the allegations of paragraph 59, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

60. __ As to the allegations of paragraph 60, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

61. As to the allegations of paragraph 61, Defendant denies all of them.

62. _As to the allegations of paragraph 62, Defendant denies all of them.

63. As to the allegations of paragraph 63, which appears to contain argument,
Defendant denies all of them.

64. _ As to the allegations of paragraph 64, Defendant denies all of them.

65. As to the allegations of paragraph 65, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

66. As to the allegations of paragraph 66, which appears to be argument, Defendant
lacks sufficient knowledge or information to admit or deny them, and based thereon denies them.

67. As to the allegations in paragraph 67 of the First Amended Complaint, Defendant
incorporates his responses to the prior allegations incorporated by reference.

68. As to the allegations of paragraph 68, due at least in part to their vagueness
Defendant lacks sufficient knowledge or information to either admit only or deny them and based
thereon denies them, except to admit that it is his understanding that Plaintiff's ownership interest

was reduced to 8%.
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ANSWER AND COUNTER CLAIM
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69. __ As to the allegations of paragraph 66, which appears to be argument, Defendant
lacks sufficient knowledge or information to admit or deny them, and based thereon denies them.

70. Defendant admits the allegations in paragraph 70.

71. As to the allegations of paragraph 71, which appears to be argument, Defendant
lacks sufficient knowledge or information to form a belief as to the truth of these allegations, and
based thereon denies them.

72. As to the allegations in paragraph 72, Defendant denies all such allegations.

73. As to the allegations in paragraph 73, Defendant denies all such allegations.

74. As to the allegations in paragraph 74, of Defendant incorporates his responses to
the prior allegations incorporated by reference.

75. As to the allegations of paragraph 75, Defendant denies all of them.

76. As to the allegations of paragraph 76, Defendant incorporate his denial all the
allegations of Paragraph 25, and as to the remaining allegations, lacks sufficient knowledge or
information to form a belief as to the truth of these allegations, and based thereon denies them.

77. As to the allegations of paragraph 77, Defendant denies all of them.

78. As to the allegations of paragraph 78, Defendant denies the allegations that he
concealed facts, and as to the remaining allegations, Defendant lacks sufficient knowledge or
information to form a belief as to the truth of these allegations, and based thereon denies them.

79. As to the allegations of paragraph 79, Defendant denies them. Defendant also

notes that these appear to be derivative claims which cannot be asserted by Plaintiff as recognized

_ by the Court in its ruling denying the Motion to Dismiss.

80.  Asto the allegations of paragraph 80, Defendant denies them.

Defendant alleges the following affirmative defenses on information and belief:

AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE

(Failure to State a Claim Upon Which Relief May Be Granted)

As and for a First, Separate and Affirmative defense to the Causes of Action set forth in
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ANSWER AND COUNTER CLAIM
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the First Amended Complaint, and each of them, this Answering Defendant alleges that said

Causes of Action fail to state a claim upon which relief may be granted.

SECOND AFFIRMATIVE DEFENSE
(Lack of Proximate Cause)

As and for a Second , Separate and Affirmative defense to the Causes of Action set forth
in the First Amended Complaitit, and each of them, this Answering Defendant alleges that if
Plaintiff suffered any losses or damages, which this Answering Defendant denies, said losses or
damages were, in whole or in part, caused by the acts and/or omissions of Plaintiff, whether
negligent or intentional, and Plaintiff is thus barred, estopped and precluded, in whole or in part,

from recovering any such damages against this Answering Defendant.

THIRD AFFIRMATIVE DEFENSE
(Conduct of Third Parties)

As and for a Third, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint, and each of them, this Answering Defendant alleges, that the
damages, if any, suffered by Plaintiff, which Defendant denies, were the result of the acts,
conduct and/or omissions of parties other than this Answering Defendant, and Plaintiff thus
barred, estopped and precluded from recovery of any such damages against this Answering

Defendant.

FOURTH AFFIRMATIVE DEFENSE
(Comparative Fault/Negligence)
As and for a Fourth, Separate and Affirmative defense to the Causes of Action set forth in

the First Amended Complaint, Plaintiff and others were negligent in and about the matters

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ANSWER AND COUNTER CLAIM
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referred to in the First Amended Complaint, and that such negligence bars or diminishes

Plaintiff's recovery against this Answering Defendant.

FIFTH AFFIRMATIVE DEFENSE
(Apportionment)
As and for a Fifth, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint, and each of them, this Answering Defendant alleges that he is
entitled to a determination and apportionment of such liability and damages, if any, as may be

attributable solely to him.

SIXTH AFFIRMATIVE DEFENSE
(Not a Substantial Factor)
As and for a Sixth, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint, and each of them, this Answering Defendant alleges that Plaintiff
is barred from any recovery as against this Answering Defendant in that the actions of this

Answering Defendant, if any, were not a substantial factor in the alleged damages, if any.

SEVENTH AFFIRMATIVE DEFENSE
(Estoppel)

As and for a Seventh, Separate and Affirmative defense to each Cause of Action alleged
in the First Amended Complaint, and each of them, this Answering Defendant alleges that
Plaintiff is estopped from seeking relief therein due to his own acts or omissions with reference to
the subject matter of the First Amended Complaint.

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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21 cv-09591

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EIGHTH AFFIRMATIVE DEFENSE
(Statute of Limitations)

As and for an Eighth, Separate and Affirmative defense to the Causes of Action set forth
in the First Amended Complaint, and each of them, this Answering Defendant alleges that said
Causes of Action are barred by the applicable statutes of limitations including, without limitation
California Code of Civil Procedure §§337, 338, 339, 340, 343 and Business and Professions Code

§17208.

NINTH AFFIRMATIVE DEFENSE
(Doctrine of Laches)
As and for a Ninth, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint, and each of them, this Answering Defendant alleges that said

Causes of Action are barred under the doctrine of laches.

TENTH AFFIRMATIVE DEFENSE
(Failure to Join A Necessary Party)
As and for a Tenth, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint, and each of them, this Answering Defendant alleges that the LLC

was an indispensable or necessary party which cannot be joined in this action.

ELEVENTH AFFIRMATIVE DEFENSE
(Lack of Standing)
As for an Eleventh, Separate and Affirmative defense to the Causes of Action set forth in
the First Amended Complaint and each of them, Defendant alleges that Plaintiff lacks standing

and is not the real party in interest and is pursuing derivative claims which cannot be prosecuted

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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21Cv-09591

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without the LLC being a party to this action.

TWELFTH AFFIRMATIVE DEFENSE
(Punitive Damages)

As and for a Twelfth, Separate and Affirmative defense to the Causes of Action set forth
in the First Amended Complaint, and each of them, this Answering Defendant alleges any award
punitive damages would not be appropriate in this case and would violate the Fifth, Sixth and
Fourteenth Amendments the United States Constitution of similar California constitutional
provisions.

THIRTEENTH AFFIRMATIVE DEFENSE

As a thirteenth separate affirmative defense to the Cause of Action in the First Amended
Complaint Defendant alleges he acted reasonably and in accordance with his duties in connection

with the operation of the LLC.

COUNTERCLAIM
Defendant and Counterclaimant alleges on information and belief as follows:

FIRST CAUSE OF ACTION
(Declaratory Relief)

1. Defendant and Counterclaimant is informed and believes that Plaintiff
Kanaan alleges and claims that he is the holder of a 30% interest in the LLC.

2. Yaqub disputes this contention and alleges that Kanaan’s interest in the
LLC is 8%.

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ANSWER AND COUNTER CLAIM
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3. There is a dispute between Plaintiff and Defendant as to the percent of
ownership of the LLC by Kanaan and Yaqub and a judicial declaration is necessary so
that the parties can resolve this difference and know how to proceed with respect to the
ownership of the LLC.

WHEREFORE Defendant and Counterclaimant prays that:

Plaintiff take nothing by way of his First Amended Complaint;

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*

2. For a judgment adjudicating that the interests of Yaqub and of Plaintiff are
that Yaqub holds 92% of the LLC and Kanaan hold 8%;
3. That Yaqub be awarded fees and costs as appropriate, and

4. For such other and further relief as the Court determines to be appropriate.

Dated: May 31, 2023 BELZER & MURRAY, LLP

/s/
WILLIAM J. MURRAY
Attorneys for Defendants

NIZAR YAQUB, an individual; THE INN

AT DEL MONTE BEACH, LLC,
California Limited Liability Company

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ANSWER AND COUNTER CLAIM
CASE NO.: 5:21CVv-09591

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Re: Kanaan v. Yaqub, et al.
Case No. 5:21-cv-09591

PROOF OF SERVICE

L LYNN EDWARDS, declare as follows:

I am over the age of eighteen years and not a party to the within action; my business
address is 1600 S. Main Street, Suite 260, Walnut Creek, California 94596; I am employed
in Contra Costa County, California.

I am readily familiar with my employer’s practices for collection and processing of|
correspondence for mailing with the United States Postal Service. On May 31, 2023, 2022, I
served a copy, with all exhibits, of the following documents:

ANSWER TO FIRST AMENDED COMPLAINT AND COUNTERCLAIM

on the interested parties in this case by:

Following ordinary business practices and placing for collection and mailing at 1600
S. Main Street, Suite 260, Walnut Creek, California 94596, a true copy of the above-
referenced document(s), enclosed in a sealed envelope; in the ordinary course of|
business, the above documents would have been deposited for first-class delivery with
the United States Postal Service the same day they were placed for deposit, with
postage thereon fully prepaid, in the United States mail at Walnut Creek, California,
addressed as follows:

Depositing copies of the above documents in a box or other facility regularly
maintained by California Overnight or Federal Express for overnight delivery in an
envelope or package designated by the carrier with delivery fees paid or provided for,
addressed as follows:

xX Causing the above documents to be electronically delivered to the addressees as

follows:
Amjad M. Kahn, Esq. Jennifer L. Gordon, Esq.
BROWN NERI SMITH & KHAN LLP LORIUM LAW
11601 Wilshire Blvd., Ste. 2080 180 N. LaSalle, Ste. Ste. 3700
Los Angeles, CA 90025 Chicago, IL 60601
Tel: (310) 593-9890 Tel: (812) 564-5757
E-Mail: Amjad. khan@bnsklaw.com E-Mail: jgordon@loriumlaw.com

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct and that this declaration was executed on May 31, 2023, at
Walnut Creek, California.

/s/
LYNN EDWARDS

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' ANSWER AND COUNTER CLAIM
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